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                           UNITED STATES DISTRICT COURT
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           CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
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  11
       BRENDA ZAMORA,                            Case No.: 2:21-cv-01175-MWF-AGR
  12

  13
                  Plaintiff,                     ORDER

  14        vs.
  15 CAPITAL ONE BANK (USA), N.A.

  16              Defendant.
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  19        Pursuant to the stipulation of the Parties, Capital One Bank (USA), N.A. is
  20 dismissed with prejudice and each party shall bear its own attorneys’ fees and costs.

  21        IT IS SO ORDERED.
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  23 DATED: April 23, 2021
                                            MICHAEL W. FITZGERALD
  24                                        United States District Judge
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                                              ORDER
